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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


Commodity Futures Trading Commission,

                   Plaintiff,
                                                      Case No. 1:23-cv-1887
       v.
                                                      Judge Manish S. Shah
Changpeng Zhao, Binance Holdings Limited,
Binance Holdings (IE) Limited, Binance
(Services) Holdings Limited, and Samuel Lim,

                   Defendants.


      BINANCE HOLDINGS LIMITED, BINANCE HOLDINGS (IE) LIMITED,
     BINANCE (SERVICES) HOLDINGS LIMITED, CHANGPENG ZHAO, AND
   SAMUEL LIM’S UNOPPOSED MOTION FOR LEAVE TO FILE EXCESS PAGES

       Pursuant to Local Rule 7.1, Defendants Binance Holdings Ltd., Binance Holdings (IE) Ltd.,

Binance (Services) Holdings, Ltd. (the “Foreign Binance Entities”), Changpeng Zhao, and Samuel

Lim (collectively “Defendants”) respectfully move this Court for leave to file Memoranda of Law

in support of their Motions to Dismiss in excess of the fifteen-page limit. In support of this Motion

for Leave, Defendants state as follows:

       1.      On March 27, 2023, the Commodity Futures Trading Commission (“CFTC”) filed a

73-page, 236-paragraph Complaint in this Court alleging violations of the Commodity Exchange

Act and certain related federal regulations. (ECF No. 1.)

       2.      Defendants’ response to the Complaint is due on July 27, 2023. (ECF No. 35.) The

Foreign Binance Entities and Zhao intend to file a joint Motion to Dismiss the Complaint. Lim

intends to file a separate Motion to Dismiss the Complaint, and join parts of the motion filed by

the Foreign Binance Entities and Zhao.



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          3.    Local Rule 7.1 states that “[n]either a brief in support of or opposition to any motion

. . . shall exceed fifteen pages without prior approval of the court.”

          4.    Defendants endeavored to comply with the page limit of Local Rule 7.1. But given

the complexity of the CFTC’s Complaint and the number of arguments Defendants anticipate

making in support of their Motions to Dismiss, Defendants anticipate that their Memoranda of

Law in support of the two motions will exceed the fifteen-page limits. Accordingly, Defendants

respectfully request an expansion of the page limit allowed by Local Rule 7.1 up to 50 pages

collectively for the two Memoranda of Law, which is 25 pages less than the combined total of 75

pages that the Defendants would be entitled to under Local Rule 7.1 if they each separately moved

to dismiss the CFTC’s Complaint.

          5.    Defendants’ counsel has conferred with counsel for CFTC regarding this Motion.

CFTC’s counsel has authorized Defendants to state that the CFTC does not oppose the requested

relief.

          WHEREFORE, Defendants respectfully request this Court enter an order granting this

Motion and permitting Defendants to file Memoranda of Law in connection with Defendants’

Motions to Dismiss of 50 or fewer combined pages.




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Dated: July 24, 2023                     Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on July 24, 2023, I electronically filed the foregoing with the Clerk of

Court using the CM/ECF system, which will send notification of such filing to all counsel of

record.


                                                         /s/ Erin P. Gasparka
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